Case 1:18-cv-05775-ERK-TAM Document 108-10 Filed 08/21/23 Page 1 of 10 PageID #:
                                    1113



w                 VOYNOW BAYARD WHYTE
                                                AND
                                        CERTIFIED PUBLIC
                                                              COMPANY,
                                                                          ACCOUNTANTS
                                                                                              LLP                                                       PARTNERS:
                                                                                                                                                        HUGH WHYTE, CPA
                                                                                                                                                        KENNETH MANN, CPA
                                                                                                                                                        RANDALL E. FRANZEN, CPA
                                                                                                                                                        ROBERT P.SE1BEL, CPA


                                                                                                                                                        DAVID A. KAPLAN, CPA
                                                                                                                                                        ROBERT KIRKHOPE, CPA
                                                                                                                                                        T1MOFEY KRAVETS,CPA
                                                                                                                                                        DAVID M. KUMOR


  December 30, 2016                                                                                                                                     PAUL VOYNOW,CPA(Inactive)
                                                                                                                                                        ROBERT H. BAYARD, CPA (1937-201$)




  Mr. Michael Koufakis
  Star Nissan, Inc.
  206-26 Northern Blvd.
  Bayside, NY 11361
  Doylestown, PA 18901

      Re: 205-11 Northern Blv, LLC
          210-10 Jamaica Ave, LLC
          211-48 Jamaica Ave, LLC
          Koufakis Realty, LLC
          Koufakis Realty 211-52 Jamaica Ave, LLC
          Star Auto Body of Queens Village, LLC
          Star Auto Sales of Bayside, Inc.
          Star Auto Sales of Queens,LLC
          Star Auto Sale of Queens County, LLC
          Star Chrysler Jeep Dodge
          Star Hyundai, LLC
          Star Nissan, Inc.

  Dear Mr. Koufakis:

  We are pleased to provide you    with the     professional    services
  described below. This letter confirms our understanding      of   the
  terms and objectives of our engagement     and    the  nature     and
  limitations of the services we will          This engagement
                                          provide.
  between you and our firm will be      governed     by   the     terms    of
  letter. We will perform our services     in   accordance    with    the
  Statements on Standards for Tax Services       issued  by      the      Americ
  Institute of Certified Public Accountants.

  Scope of Engagement

  We will prepare the 2016 federal      income
                                          tax returns for the above
  entity(ies) and income/franchise   tax    returns    for    the     state    an
  localities representing the places     of    organization     and/or    where
  doing business (collectively, the    "returns"    in     You are
                                                          2016).
  responsible for providing us    all    information     necessary to


  N O R T H B R O O K C O R P O R A T E C E N T E R • I2IO    NORTHBROOK DRIVE
                                                                             • S U I T E 1 4 0 • T R E V O S E , P A I 9 O 5 3 • 2i5.355.80OO                2i5.396.2OOO
                                                                                                                                                              •                     F
                                        M E M B E R • A M E R I C A N I N S T I T U T E O FC E R T I F I E D P U B L I C A C C O U N T A N T S
                                     M E M B E R • P E N N S Y L V A N I A I N S T I T U T E O F C E R T I F I E D P U B L I CA C C O U N T A N T S
                                                                                                                                                      VOYNOW001161
Case 1:18-cv-05775-ERK-TAM Document 108-10 Filed 08/21/23 Page 2 of 10 PageID #:
                                    1114
  Mr. Michael Koufakis
  December 30, 2016
  Page 2

  identify all sta-te and localities in which                                                          business            is   conducted
  or income is derived.

  We will not prepare any tax returns     except    those    identified
  without your written authorization to    do We
                                               so.will prepare
  your tax returns based upon information   and    representations
  provided to us. We will not audit or otherwise verify       the   data
  you submit to us,although we may ask you to clarify          some  of   the
  information. We will prepare the tax returns solely         for filing
  with the Internal Revenue Service   ("IRS")    and     state
                                                          local and
  authorities. They are not intended to    benefit or influence         any
  third party, either to obtain debt or      equity    financing     or      for
  other purpose. As such, we will not respond to any         request    from
  banks, mortgage brokers or other   lenders     for    verification    of     a
  information reported on these tax returns.

  As a result, you agree to indemnify     and   hold   our    firm   and
  its partners, principals, members, employees,
                                              agents or assigns
  harmless with respect to any and all      claims   arising
                                                         the usefrom
  of the tax returnsfor any purpose other than filing      with the     IRS
  and state and local tax authorities   regardless    of    the    nature
  the claim, including the negligence   of   any    party.

  Client Responsibilities

  You will provide us with a   trial   balance   and   other  supporting
  data needed to prepare your   tax returns.
                                          It is your obligation
  to provide us with accurate and   complete   information,  including
  worldwide income.

  Documentation

  You are responsible for maintaining    an    adequate      and    efficient
  accounting system for safeguarding    assets    and    authorizing
  transactions and maintaining adequate      documentation       to
  substantiate the accuracy and     completeness     of    your     tax     returns
  You should retain all documents that      provide     evidence      and      suppo
  for reported income, credits, and deductions         on     your     returns    a
  required under tax law.You are responsible for        the adequacy       of
  all such documents. You represent that you      have such
  documentation and can produce    it if     needed     to     respond     to    an
  audit or inquiry by   taxing authorities.
                                          You agree to hold us
  harmless with respect to any    additional     taxes,     penalties,
                                                                or
  interest imposed on you by taxing      authorities       resulting     from      t
  disallowance of tax deductions due      to    inadequate       documentation.


             V O Y N O W , B A Y A R D ,W H Y T E   A N D C O M P A N Y , L L P• C E R T I F I E D   PUBLIC   ACCOUNTANTS

                             1210      NORTHBROOKDRIVE                S
                                                                      • UITE      I40            • TREVOSE,           VOYNOW001162
                                                                                                                PA I 9 0 5 3
Case 1:18-cv-05775-ERK-TAM Document 108-10 Filed 08/21/23 Page 3 of 10 PageID #:
                                    1115
  Mr. Michael Koufakis
  December 30, 2016
  Page 3

  Personal Expenses

  Unless we are otherwise advised, you      are    responsible     for
  confirming thai:
                 personal expenses, if any, are segregated        from
  business expenses and expenses such    as    meals,    travel,
  entertainment, vehicle use,gifts, and related expenses that are
  supported by necessary records required       by    the    IRS    and                                                       other
  taxing authorities. At your   request, we are        available     to                                                      answer
  your questions and advise you     on the    types    of    supporting                                                       recor
  required.

  Employment Records

  You are responsible for obtaining Forms      1-9,   Employment
  Eligibility Verification Form, from     each    new   employee    at    the
  of employment. In addition, Federal Form W-4, Employee's
  Withholding Allowance Certificate, and      the    applicable    state
  equivalent should be retained     for              Failure to
                                          all employees.
  obtain these forms may subject an employer to penalties.
  Additional state requirements related     to employment     records    may
  exist.

  Worker Classification

  You are responsible for   determining   the    correctness    of       any
  employment relationship which you     have    deemed    to be       that    of
  independent contractor. Payroll tax withholding and related
  employer payroll tax implications    result   from    this   determination.
  We recommend obtaining a    Form W-9, Request       for    Taxpayer
  Identification Number and Certification,      signed    by      the
  independent contractor, as well as      a    signed    contract     with     the
  independent contractor. A Form 1099-MISC, Miscellaneous Income,
  should be issued to all unincorporated       independent    contractors       to
  whom you pay $600 or more     for        In the preparation of
                                      services.
  your tax returns, we will presume,when it appears to be
  self-evident from the trial balance       and    other   supporting      data
  that payments were made that     met   this    threshold    (or     some     oth
  1099 form filing requirements), that management      has    filed       these
  forms unless we are expressly told      otherwise.

  Listed Transactions                       and        Transactions                   of        Interest

  You acknowledge your responsibility     to   inform   us   of    any      list
  transactions or transactions of interest      as    designated     by     the
  IRS. You agree to hold us harmless with respect          to    any
  additional taxes, penalties, or interest imposed on you     by     taxing
  authorities resulting from your     failure   to timely     notify
                                                                in       us,
              V O Y N O W , B A Y A R D ,W M Y T E   AND   C O M P A N Y , L •L C
                                                                                PERTIFIED   PUBLIC      ACCOUNTANTS

                              I2IO      NORTHBROOKDRIVE • S U I T E        I40
                                                                             • TREVOSE,       PA1 9 0 5 3     VOYNOW001163
Case 1:18-cv-05775-ERK-TAM Document 108-10 Filed 08/21/23 Page 4 of 10 PageID #:
                                    1116
  Mr. Michael Koufakis
  December 30, 2016
  Page 4

  writing, of all such transactions  in order to                                                                facilitate       the
  timely preparation and filing your
                                 of tax returns.

  State and Local                Filing             Obligations

  You are responsible for   determining   your    state    or   local      tax
  filing obligations with any state    or local     tax authorities,
  including, but not limited to, income, franchise,  sales, use,
  property or unclaimed property   taxes.You agree that we have no
  responsibility to research these     obligations or    to     inform     you
  them other than those addressed    in the     engagement    scope     section.
  If upon review of the information     you    have    provided    us     and
  information that comes to our     attention,    we   believe     you      may
  an obligation to file additional    tax           will
                                            returns, we   notify  you
  of this responsibility. If you ask us to prepare these         returns,
  we will confirm accordingly in    a    separate    engagement     letter.

  U.S. Filing Obligations                            Related              to           Foreign             Financial    Assets

  As part of your filing obligations
                                   you are required to report the
  maximum value of specified foreign   financial   assets,   which
  include financial accounts with foreign   institutions   and     certain
  other foreign non-account investment  assets that    exceed     certain
  thresholds.

  It is your responsibility to inform us if          you    directly       or
  indirectly hold any interests in       businesses
                                               located in a foreign
  country or have signatory authority       in  any    assets     or    financial
  accounts located in a foreign    country.Based upon the
  information you provide, this    information     will be       used      to
  calculate any applicable foreign    tax    credits.    We       will also       us
  this data to inform you of     any    additional    filing     requirements
  which may include FinCen Form     114    Report   of    Foreign      Bank     and
  Financial Accounts (FBAR). Failure to file required forms     can
  result in the imposition of both     civil    and   criminal      penalties,
  which can be significant. These are not tax returns in           the
  normal sense and their preparation      is    not within      the      scope
  this engagement. If you ask us to prepare these forms,             we     will
  confirm this matter in a separate      engagement     letter.

  Foreign Filing              Obligations

  You are responsible for complying   with any     other   country's                                                               incom
  reporting and tax filing requirements.   If   you   have    reason                                                               to
  believe there exists the   possibility   of any    foreign
                                                         filing tax
  obligations, please contact us    to    discuss your   concerns.

             V O Y N O W , B A Y A R D ,W H Y T E   AND   COMPANY,       L
                                                                         •CL PE R T I F I E D   PUBLIC   ACCOUNTANTS

                             1210      NORTHBROOKD R I V E - S U I T E        1•4TREVOSE,
                                                                                 0                PA
                                                                                                   I9O53       VOYNOW001164
Case 1:18-cv-05775-ERK-TAM Document 108-10 Filed 08/21/23 Page 5 of 10 PageID #:
                                    1117
  Mr. Michael Koufakls
  December 30, 2016
  Page 5

  Affordable Care                Act

  The Affordable Care Act ("ACA")    added    various     new health
  Insurance related mandates, penalties     and    credits     to    the       Inter
  Revenue Code beginning In       You acknowledge and agree that
                              2014.
  we are relying solely on the Information        provided     to
                                                                you in
                                                                     us     by
  connection with the preparation of the       tax forms.       Unless       notifi
  otherwise, we are presuming that    you    are    in    compliance      with     t
  ACA, with the knowledge that all employees in 2016          had minimum
  essential coverage or qualified for      exemptions,     as    well     as     you
  shared responsibility payment requirements and       filing     of       Forms
  1094 B and C (self-insured) or Forms     1095 B       and   C(third       party
  insurer). We have also not been engaged to provide           any      advice
  regarding the eligibility for    any   credits     or    estimates     of       an
  payments or penalties. We recommend that you consult with your
  insurance broker or advisor with respect       to these     matters.

  Capitalization            Policy

  For entities owning tangible property,    you   were   responsible     for
  re-establishing a capitalization policy     for   recordingfixedthese
  assets as of January 1, 2016 in     order   to apply    the    DeMinimus
  Harbor for determining deductible   expenditures   under    the
  Treasury's final "TangibleProperty Regulations". We are relying
  solely on the information provided    to   us by     management within     t
  accounting system, as to the criteria for     the categorization
                                             used
  in the books and records of capitalizable     and    non-capitalizable
  expenditures related to tangible property.Please let us know if
  you have any questions on the    aforementioned   regulations.

  CPA Firm Responsibilities

  Our services will be limited to only         those     tasks    we    deem
  necessary for thepreparation of the returns. We           may    deem    it
  necessary to provideyou with accounting and bookkeeping
  assistance in that regard. We will request your approval           before
  rendering these services, if   they     look    to    be    significant,      sinc
  additional charges would apply.Please note that we will not
  validate the completeness or    accuracy     of    the     information
  supplied, and the assistance we do         provide     is    not    to     be
  as an oversight function, of     accounting system, in any
                                  your
  respect; therefore, there should     be   no reliance,        stated
  or Implied, by management on the       accuracy     of    the    assistance      w
  are to provide. As a result of our assistance, we may              propose
  standard, adjusting, or correcting      journal     entries    to      your      b
  and records. However, management has final        responsibility       for
  reviewing the proposed entries and       understanding       the     nature      a
             V O Y N O W , B A Y A R D ,W H Y T E   AND   COMPANY,        L• LCPE R T I F I E D   PUBLIC   ACCOUNTANTS

                             I2IO      NORTHBROOKDRIVE       S• U I T E     I4O           • TREVOSE,                  VOYNOW001165
                                                                                                            PA 1 9 0 5 3
Case 1:18-cv-05775-ERK-TAM Document 108-10 Filed 08/21/23 Page 6 of 10 PageID #:
                                    1118
  Mr. Michael Koufakis
  December 30, 2016
  Page 6

  impact of the proposed entries on the     returns.
                                              Furthermore, it
  is management's responsibility, once these   entries   have                                                                        been
  approved, to post the entries to its    accounting   system                                                                       in      a
  timely manner.

  Supportable Positions

  We will use our judgement to resolve        questions       in your     favor
  where a tax law is unclear assuming      there      is     reasonable
  justification for doing so.Whenever we are aware of conflicting
  interpretations of the law by      authorities,       we will explain         the
  possible positions thatmay be taken onyour return. We will
  follow the position you request, provided          it is consistent          with
  our understanding of the current     tax    code, regulations
                                                         laws,        and
  their interpretations. Pursuant to standards prescribed in IRS
  Circular 230 and IRC 6694, we are        permitted        to sign     a  tax      r
  only if we have a reasonable belief        that      there     is substantial
  authority for a tax position taken      on     the      return
                                                           we have ora
  reasonable basis for a    particular position         and disclose        it
  separately on the return. If the      IRS     or   state tax       authorities
  later contest a position taken, there        may     be     an   assessment      of
  additional tax, interest and   penalties,      which
                                                  we assume no
  liability. Thus, you hereby release us from any              obligation
                                                                    for
  such assessments.

  Errors, Fraud            or Theft

  Our engagement does not include   any    procedures   designed                                                                    to
  discover errors, fraud or theft.Therefore, our engagement
  cannot be relied upon to disclose     such   matters.

  Brokerage or           Investment                    Advisory                  Statements

  If you provide ourfirm with copies of brokerage (or investment
  advisory) statements, we will use     the   information     from    these
  statements solely in connection withthe preparation of your
  income tax returns. We will rely on the accuracy of the
  information provided in the statements      and   will    not   undertake
  action to verify this information.We will not monitor
  investment activity, provide investment     advice,supervise
                                                        or      the
  actions of the entity or individuals      performing    investment
  activities on your behalf.We recommend you review all brokerage
  (or investment advisory) statements    promptly   and carefully       and
  direct any questions regarding activities      on your     account    to
  banker, broker or investment advisor.


              V O V N O W , B A Y A R D ,W H Y T E   AND   C O M P A N Y , L•LCP E R T I F I E D   PUBLIC      ACCOUNTANTS

                               I2IO     NORTH        BROOK       DRIVE
                                                                  SUITE        I 4 O• TREVOSE,
                                                                                          •          PAI 9 0 5 3     VOYNOW001166
Case 1:18-cv-05775-ERK-TAM Document 108-10 Filed 08/21/23 Page 7 of 10 PageID #:
                                    1119

  Mr. Michael Koufakis
  December 30, 2016
  Page 7

  Governmental         Inquiries

  This engagement: does not include responding to inquiries    by any
  governmental agency or tax     authority.
                                         If your tax return is
  selected for examination or audit, you        may   request  we assist
  in responding to such inquiry.If you ask us to represent you,
  we will confirm this in a       separate
                                     engagement letter.

  Timing of the             Engagement

  We expect to begin the   preparation your
                                         of returns upon receipt
  of the trial balance and
                         other supporting data agreed to      above.

  If your return is electronically filed,      our   services    will
  conclude upon the filing and acceptance       of   your    2016    tax   ret
  by the appropriate taxing authorities. You will be     required    to
  verify and sign a completed Form 8879, IRS        e-file    Signature
  Authorization, and state equivalent authorization     form(s)     before
  your returns canbe filed electronically. You are responsible
  for reviewing the accuracy of all tax       returns    and    any
  accompanying schedules and    statements  prior   to    filing.

  If your return is filed by    mail,
                                 our services will be concluded
  upon the delivery to you   of your    2016   tax   returns
                                                      your review
                                                              for
  and filing with the appropriate taxing    authorities.

  Extensions of Time                     to File                   Tax          Returns

  It may become necessary to
                          apply for an extension of the filing
  deadline if we do not receive all    of   the   supporting   information
  on a timely basis or if there   are   unresolved   tax   issues    or
  in processing.

  To the extent you wish to engage    our   firm    for    extensions    of
  to file tax returns on your
                            behalf, you must notify us of this         in
  writing. Our firm will not file theseapplications unless we
  receive either a signed copy   of this     engagement   letter    or    your
  separate expressed written authorization    to   doIn some
                                                        so.
  cases, your signature may be   needed   on    such   applications    prior
  filing.

  Penalties and            Interest                  Charges

  Federal, state and local taxing authorities   impose   various
  penalties and interest charges for     non-compliance   with   tax                                                                    law.
  including, for example, failure   to  file    or   late taxfiling                                                                    of
  returns and underpayment of taxes.You, as the taxpayer, remain
             V O Y N O W , B A Y A R D ,W H Y T E   A N DC O M P A N Y , L L P • C E R 1 I F I E D P U B L I C   ACCOUNTANTS

                             1210      NORTHBROOK                DRIVE             •S•UTREVOSE,
                                                                                        ITE             PAI 9
                                                                                                            I4O0
                                                                                                               53       VOYNOW001167
Case 1:18-cv-05775-ERK-TAM Document 108-10 Filed 08/21/23 Page 8 of 10 PageID #:
                                    1120
  Mr. Michael Koufakis
  December 30, 2016
  Page 8

  responsible for                the payment of all taxes,                                                          penalties            and   interest
  charges imposed                by  taxing authorities.

  We rely on the accuracy and completeness   of   the     information
                                                             you
  provide to us in connection with the     preparation    of    your     tax
  returns. Failure to disclose, or inadequate disclosure     of   income
  or tax positions, can result in the imposition       of   penalties     and
  interest charges.

  Fees and Billing

  Our professional fees for this engagement are not contingent      on
  the results of our services but      will be based    upon    the
  complexity of the work to be performed       and   our    professional                                                                                t
  to complete the work. Additionally, the overall fees     depend    upon
  the availability, quality and completeness     of  your     records.
                                                               We
  will contact you to discuss any      matter  that   causes    an
  unanticipated delay completing our engagement.

  Any inability on our part to sign a           tax   return,    such    as   be
  of a disagreement over a     disclosure   of    a tax position,
  non-response by you for information requested or non-payment       of
  fees (among other things) will constitute       a    basis    for     our
  election to terminate our services.If we elect to terminate our
  services, our engagement will be deemed to have been        completed
  upon written notification of termination, even if we have         not
  completed the returns. The company will be obligated, through
  the date of termination, to compensate       us   for    all    outstanding
  invoices as well as our final      invoice   for    our    time     through
  date of our withdrawal.

  Miscellaneous

  The IRS permits you to authorizeus to discuss with its
  representatives, on a   limited basis, aspectsof your return for
  one year after thereturn's due date.   Your  consent  to such a
  discussion is evidenced by    checking   a     box   on theUnless
                                                                  return,
  you tell us otherwise, we will     check    that   box   authorizing                                                                            the
  to discuss your return with us.

  Certain communications involving   tax    advice   are    privileged     and
  not subject to disclosure to the      IRS.
                                         By disclosing the contents
  of those communications to   anyone, or by        turning    over information
  about those communications to the     government,    you,    your     employe
  or agents may be waiving this     privilege.
                                             To protect this right
  to privileged communication, please     consult   with us      or   your
  attorney prior to disclosing any     information     about    our tax
              V O Y N O W , B A Y A R D ,W H Y T E   A N D C O M P A N Y , L L P• C E R T I F I E D   P U B L I CA C C O U N T A N T S

                              I2IO      NORTH          BROOK          DRIVE
                                                                       SUITE      I 4 0•• TREVOSE, PA I 9 0 5 3                 VOYNOW001168
December 30, 2016
PageCase
      9 1:18-cv-05775-ERK-TAM Document 108-10 Filed 08/21/23 Page 9 of 10 PageID #:
                                       1121
advice. Should you decidethat it is appropriate for us                 to
disclose any potentially        privileged       communication,
                                                           you
agree to provide       us with
                             written, advance     authority     to       make                                that
disclosure.

Should we receive      any    request      for      the         disclosure         of
information from     any      third      party,      including         a        subpoen
or IRS summons,     we     will notify In you.the eventthat you direct
us not to    make   disclosure,
                     the             you    agree holdto us harmless for
any expenses    incurred      in     defending        the         privilege           in
way of illustration        only, attorney's
                                     our         fees,    court      costs,
outside adviser's       costs, or       penalties      imposed
                                                          or     as
                                                                 finesa
result of your     asserting        the        privilege          or        your
assert the     privilege.

In the event     we     are     required       to          respond          to
order or otherlegal processfor the        production      of     documents
and/or testimony       relative      to      information            we           o
prepared   during     the     course       of        this           engagement,
compensate   us,     as forth
                    set           above,   for       the       time         we
connection   with     such       response        and          to            reimb
out-of-pocket     costs      incurred        in          that            regard.

In the event that we become obligated to     pay    any judgement      or
similar award, you agree to pay     any amount   in     settlement,    and
costs incurred as a resultof any inaccurate or incomplete
information that was provided    to    us    during    the
                                                        of this course
engagement. You agree to indemnify us, defend         us    and    hold
harmless against such obligations,agreements and/or costs.

At the completion of our    engagement,     the     original   source
documents will be returned     to Workpapers
                                     you.       and other
documents created  by are
                        us our property. Such original
proprietary workpapers  will     remain   control
                                           in     our
                                                   and copies   are
not to be distributed    without     our    prior      written    con

You may request that we perform additional services not
contemplated by this engagement letter.If this occurs, we will
communicate with you regarding the    scope and estimated cost
these additional services. Engagements for additional services
may necessitate that we amend this letter issue
                                              or   a separate
engagement letter to reflect the     obligations   of both    parti
                                                                In
the absence of any other written     communications    from    us
documenting additional services,    our
                                     services will be limited to
and governed by the terms      of this    engagement    letter.

This engagement                 letterencompasses                       the      entire       agreement       of    t
                                                                                          VOYNOW001169
              V O Y N O W , B A Y A R D ,W I 1 Y T E A N D   COMPANY, L
                                                                      CLEPR
                                                                          • TIFIED   PUBLIC    ACCOUNTANTS
Case 1:18-cv-05775-ERK-TAM Document 108-10 Filed 08/21/23 Page 10 of 10 PageID #:
                                    1122
  Mr. Michael Koufakis
  December 30, 2016
  Page 10

  parties and supersedes all previous   understandings   and   agreements
  between the parties, whether oral   or written.
                                              Any modification
  to the terms of the engagement letter    must   be   made    in   writing
  signed by both parties.

  If any portion of this engagement  letter   is deemed    invalid    or
  unenforceable, said finding shall not   invalidate   the     remainder
  the terms set forth in this engagement    letter.

  We appreciate the opportunity to be      of   service
                                                   you. Please
                                                          to
  date and sign below and return    to   us   to acknowledge    your
  agreement with these terms. We will not be in a position     to
  complete our engagement unless   we   have   received  the signed                                                             copy
  of this letter from you.

                                                             Very truly yours,


                                                                         I             aJL                ,-tc V.
                                                             VOTOOW, / BAYARD, WHYTE                             AND


  Approved and accepted                              by:



  Authorized Owner/Officer



  Title


  Date




              V O Y N O W , B A Y A R D ,W H Y T E    AND   COMPANY,   L
                                                                       •CL PE R T I F I E D P U B L I C   ACCOUNTANTS

                              1210      NORTHBROOKDRIVE • S U I T E     I 4 0 TREVOSE,
                                                                                   •             PAI 9 0 5 3     VOYNOW001170
